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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                             Case No. 10-60766-CIV-COHN/SELTZER

  AMERIPATH, INC.,

                Plaintiff,

  vs.

  DR. ROBERT WESLEY WETHERINGTON, et al.,

                Defendants.

  ________________________________________/


                   DEFENDANT DR. WETHERINGTON’S OPPOSITION
                TO PLAINTIFF’S MOTION FOR TEMPORARY INJUNCTION

         Defendant Dr. R. Wesley Wetherington, M.D. (“Dr. Wetherington”), subject to his

  pending Motion to Dismiss and Motions to Transfer or Stay, opposes Plaintiff

  AmeriPath’s Motion for Temporary Injunction [DE 1(3)] (“TI Motion”), as follows:

                                    I.     INTRODUCTION

         AmeriPath tells this Court that Dr. Wetherington remains its employee, while

  telling the rest of the world just the opposite. AmeriPath tells this Court that its principal

  place of business is in Florida, while telling the Florida Secretary of State that its

  principal place of business is actually in New Jersey. AmeriPath hands Dr.

  Wetherington a letter stating that “we will let you know shortly if your services will be

  further required,” while demanding that he leave the premises immediately. AmeriPath

  complains to this Court that Dr. Wetherington is misappropriating its confidential

  information and Trade Secrets when it has taken no reasonable steps to restrict the

  disclosure and use of information which it claims is protected.
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         It is therefore not surprising that AmeriPath seeks to enforce restrictive

  covenants contained in an employment agreement it has already breached. These

  breaches preclude enforcement of the restrictive covenants at issue even under Florida

  law, and the covenants are otherwise vastly overbroad and unenforceable beyond any

  legitimate business interest of AmeriPath. Equally unsurprising is AmeriPath’s failure to

  prove: (1) its likelihood of success on the merits, (2) that it is suffering irreparable injury,

  (3) that an injunction would serve the public interest or (4) that the balance of equities

  favors an injunction. Dr. Wetherington’s termination on April 13, 2010 relieved him of

  any fiduciary duty or duty of loyalty owed to AmeriPath. Plaintiff’s Motion for a

  Temporary Injunction should therefore be denied.

                                II.    STATEMENT OF FACTS

  A.     Dr. Wetherington’s Employment with AmeriPath

         Dr. Wetherington specializes in the medical practice of dermatopathology.

  DE1(2) (Compl. ¶13); (Affidavit of R. Wesley Wetherington ¶2, attached as Exhibit A).

  Dermatopathology is the microscopic evaluation of skin, hair, and nails for the diagnosis

  of cancer, diseases and other conditions to enable the referring physician to provide

  adequate and proper treatment for the patient. (Wetherington Aff. ¶2). AmeriPath is

  engaged in the business of providing Dermatopathology services through its Dermpath

  division, and is engaged in many other businesses as well. Outside of the Dermpath

  division, AmeriPath provides services related to gastroenterology, urology, oncology

  and women’s health. (Id. ¶3).




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  B.     The Agreement

         On April 19, 2002 Dr. Wetherington executed an employment agreement (the

  "Agreement") with AmeriPath to serve as Medical Director of the Dermpath practice in

  Marietta, Georgia, a suburb of Atlanta (the “Atlanta Practice”). DE 1(2) (Compl. ¶13).

  The Agreement ran initially for five years from July 1, 2002 and to June 30, 2007.

  (Compl., Exh. A (Employment Agreement (“Agreement”) ¶2)). The Agreement renews

  automatically for one-year terms unless AmeriPath gives notice of non-renewal at least

  60 days prior to the end of the term then in effect. (Id.). During the second extension

  (i.e. into year 7 or through June 30, 2009), Dr. Wetherington expressed his

  dissatisfaction with changes in the operation of the Atlanta Practice imposed by

  AmeriPath’s new owner, Quest Diagnostics (“Quest”).1 (Wetherington Aff. ¶7).

  Although Dr. Wetherington never agreed to the terms of a new contract, AmeriPath

  contended that the Agreement was extended for an eighth year (actually for a year and

  one month) through July 30, 2010. (See Id. ¶8).2

         Sections 19 and 20 of the Agreement contain a number of restrictive covenants

  which can be described as covenants of non-competition, non-solicitation or hybrids of



  1
    When Dr. Wetherington signed the Agreement in 2002, AmeriPath was an
  independent corporation. (Wetherington Aff. ¶7). AmeriPath was initially sold to an
  investment group, Welch Carson, and again sold to Quest, which is based in New
  Jersey. (Id.). After that acquisition, Dr. Wetherington’s reporting structure increasingly
  shifted from AmeriPath to Quest executives in New Jersey. (Id.).
  2
    AmeriPath contends (though admittedly with some reservations) that the Agreement
  remains in effect until July 30, 2010, apparently relying on Steven Casper’s letter to Dr.
  Wetherington dated September 16, 2009. (TI Motion at 2, ¶3; Wetherington Aff. Exh.
  1). While Casper contends that the third extension runs through July 30, 2010, this is
  quite simply a mistake. If there was a third extension, it runs only until June 30, 2010
  according to the unambiguous terms of the Agreement. (Agreement ¶2).



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  the two. These provisions are extremely overbroad and are not reasonably tailored to

  protect AmeriPath’s legitimate business interest. For example, the covenants would

  prevent Dr. Wetherington from working outside the field of dermatopathology and for

  clients who are “located in, provide services in or does any business whatsoever in the

  State of Georgia.” (TI Motion at 2, ¶3).

  C.     AmeriPath Cuts Dr. Wetherington’s Bonus in Violation of the Agreement

         In 2009, after AmeriPath was sold to Quest, Quest implemented a new policy

  limiting entertainment expenditures (which are spent to build relationships with

  physician clients) to a certain amount per physician client per year. (Wetherington Aff.

  ¶9). Consistent with Quest’s new budget, Dr. Wetherington’s sales representative took

  a physician client to dinner. (Id. ¶9). However, unbeknownst to Dr. Wetherington, the

  physician client had previously gone to dinner with others from AmeriPath’s National

  marketing department in Dallas, Texas. (Id. ¶10). AmeriPath arbitrarily refunded all

  Medicare revenue received through this physician client and deducted this amount from

  the operating income of the Atlanta Practice. In turn, this reduced Dr. Wetherington’s

  bonus by $6,661. (Id.). Dr. Wetherington did not consent to this adjustment, which was

  not authorized by any provision of his Agreement. (Id.).

  D.     AmeriPath Terminates Dr. Wetherington’s Employment

         AmeriPath terminated Dr. Wetherington in person at the Atlanta Practice office

  on April 13, 2010. (Wetherington Aff. ¶11). AmeriPath stated in its termination letter,

  falsely, that it was still considering whether or not Dr. Wetherington’s services would be

  necessary. (Id., Exh. 3). At the time of Dr. Wetherington’s termination on April 13,

  AmeriPath demanded that he gather his personal belongings and leave the premises of




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  the Atlanta Practice. (Id. ¶12). Dr. Wetherington explained that he had several complex

  cases pending and requested that he be allowed to complete those before leaving.

  (Id.). AmeriPath refused to allow Dr. Wetherington to finish those readings and

  escorted him out of the office. (Id.). Dr. Wetherington was not allowed to collect his

  personal belongings or say farewell to his colleagues, some of whom he had worked

  with since starting the Atlanta Practice in 2002. (Id.).

  E.     AmeriPath Treats Dr. Wetherington as Terminated

         Following the April 13 termination, AmeriPath has continued to bar Dr.

  Wetherington from accessing the premises of the Atlanta Practice. (Wetherington Aff.

  ¶13). AmeriPath refuses to return Dr. Wetherington’s personal books and journals as

  well as valuable teaching slides which are useful in making diagnoses. (Id.) AmeriPath

  has also prevented Dr. Wetherington from accessing the web portal containing his

  compensation records and other employment information. (Id.) AmeriPath has not

  addressed these failures despite repeated requests from Dr. Wetherington or

  Defendant’s counsel.3

         AmeriPath does not tell the same story to third parties as it tells the Court about

  Dr. Wetherington’s employment status. Less than two weeks ago it told the organizer of

  a conference where Dr. Wetherington had been scheduled to speak that he “is no



  3
    Efforts by Dr. Wetherington’s counsel to resolve these issues are contained in
  correspondence attached to the Affidavit of Charles A. Hawkins (attached as Exhibit B).
  Dermpath HR Director Sharon Sutton expressly declined Dr. Wetherington’s request to
  restore his access to the web portal on May 14, 2010, and claimed that a response was
  forthcoming from AmeriPath’s counsel on the issue of returning the books and slides.
  (Wetherington Aff. ¶13). As of the morning of May 25, Dr. Wetherington’s counsel still
  had not received any response on this and several other outstanding issues, some of
  which were raised by Defense Counsel as early as April 22, 2010. (Hawkins Aff. ¶4).



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  longer employed by Dermpath Diagnostics….” (Declaration of Charles B. Dillehay ¶4,

  attached as Exhibit C). Even worse, AmeriPath has suggested in a letter to the

  physician clients of the Atlanta Practice that Dr. Wetherington was removed as part of a

  plan to improve service at the Atlanta Practice. (Pritzker Aff. at Exh. A). Rather than

  honestly and simply rejecting Dr. Wetherington’s overtures about returning to work as

  the Medical Director of the Atlanta Practice, AmeriPath has sabotaged that prospect by

  demanding unreasonable conditions to even discussing the subject.4

         Contrary to the unsubstantiated claims of AmeriPath, Dr. Wetherington never

  solicited any of AmeriPath’s physician clients. AmeriPath’s motion before this Court

  contains nothing more than speculation regarding how and why clients have ceased

  doing business with the Atlanta Practice. See DE 1(3) (TI Motion at 9-11). In fact,

  clients of the Atlanta Practice initiated discussions with Dr. Wetherington once they had

  learned of Dr. Wetherington’s termination. (Affidavit of Stanley Katz, M.D. ¶4; Affidavit

  of W. Derrick Moody, M.D. ¶4; Affidavit of Neville G. Pereyo, M.D. ¶4; Affidavit of Adam



  4
    Dr. Wetherington communicated his proposal on this issue by letter dated April 22,
  2010. (Hawkins Aff., Exh. 1). AmeriPath’s Georgia counsel responded on April 26,
  2010 that AmeriPath would be “willing to discuss” Dr. Wetherington’s return to work on
  the condition that he make certifications under oath as to nine (9) separate matters,
  some of which AmeriPath knew or should have know were simply untrue. For example,
  AmeriPath conditioned even discussing Dr. Wetherington’s return on the condition that
  he certify that he had “no ownership or financial interest in any entity that competes or is
  being established to engage in any business that will compete with the business
  conducted by AmeriPath in Georgia.” (Hawkins Aff., Exh. 2 at 3). Yet, AmeriPath
  already knew from the Complaint filed in Georgia by Dr. Wetherington on April 14 (and
  served on AmeriPath the following day) that Dr. Wetherington was, in fact, actively
  planning to compete with AmeriPath. (Id., Exh. 3). Moreover, by April 14, 2010 (the
  day after Dr. Wetherington’s termination), AmeriPath had apparently already decided it
  would send a letter in the form attached to Dr. Pritzker’s Affidavit informing physician
  clients that Dr. Wetherington was no longer the Medical Director and that “we wish him
  well in his future endeavors.” (See Pritzker Aff. at Exh A).


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  S. Pritzker, M.D. ¶5; Affidavit of David E. Schoenfeld, M.D. ¶4).5 These physicians were

  never asked to enter into any sort of written agreement with AmeriPath/Dermpath in

  order to obtain the services of the Atlanta Practice. Moreover, no one ever told them

  any information relating to their relationship with AmeriPath/ Dermpath was to be kept

  confidential. (Katz Aff. ¶5; Moody Aff. ¶6; Pereyo Aff. ¶5; Pritzker Aff. ¶6; Schoenfeld

  Aff ¶5). AmeriPath never expressed concerns to Dr. Wetherington that information

  about the terms and conditions of services provided to physician clients should be kept

  confidential. (Wetherington Aff. ¶4).

  E.       Procedural Background

           AmeriPath initiated this lawsuit in the Circuit Court of the Seventeenth Judicial

  Circuit in and for Broward County on April 26, 2010, twelve days after Dr. Wetherington

  filed his complaint requesting declaratory relief in the United States District Court for the

  Northern District of Georgia. Dr. Wetherington removed the instant case to this Court

  on May 11, 2010 with the consent of co-Defendant Christian Stevens (“Stevens”). Dr.

  Wetherington’s Motion to Dismiss [DE 3] and Motions to Transfer Venue or Stay [DE 4]

  are pending.

                     III.   ARGUMENT AND CITATION TO AUTHORITY

           AmeriPath alleges that Dr. Wetherington is breaching his fiduciary duties and

  duties of loyalty as a current employee of AmeriPath, along with his non-compete

  obligations under the Agreement. (TI Motion at 13 (emphasis added)). AmeriPath’s

  allegations are without merit and must be denied because (1) Dr. Wetherington is not an

  employee of AmeriPath, (2) any breach of the Agreement occurred first by AmeriPath,



  5
      The Physician Affidavits are attached as Exhibits D – H respectively.

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  (3) the restrictive covenants are overbroad and unenforceable under both Georgia and

  Florida law, and (4) AmeriPath fails to establish the necessary elements for this Court to

  grant the extraordinary relief that AmeriPath requests.

  A.     AmeriPath’s Burden

         A party seeking a preliminary injunction6 must show “(1) a substantial likelihood

  of success on the merits; (2) that irreparable injury will be suffered if the relief is not

  granted; (3) that the threatened injury outweighs the harm the relief would inflict on the

  non-movant; and (4) that entry of the relief would serve the public interest.” Schiavo ex

  rel. Schindler v. Schiavo, 403 F.3d 1223, 1225-26 (11th Cir. 2005). Because a

  preliminary injunction is a drastic remedy which should be used sparingly, this Court

  should not issue a preliminary injunction unless AmeriPath clearly meets its burden of

  persuasion as to each of the four requisites. See Morgan Stanley DW, Inc., v. Frisby,

  163 F. Supp. 2d 1371, 1374 (N.D. Ga. 2001); GPS Industries, LLC v. Lewis, No. 8:09-

  CV-2507, 2010 U.S. Dist. LEXIS 17798, at *8 (M.D. Fla. Feb. 8, 2010)7 (denying

  defendant employer’s request for a preliminary injunction enjoining its former employee

  from disclosing confidential information and trade secrets, from competing against

  defendant, and from unfairly soliciting defendant’s clients and employees).

  B.     AmeriPath’s Tort Claims are Based on the False Premise that Dr.
         Wetherington Remains an Employee

         AmeriPath’s common law tort claims are all based on the presumption that Dr.

  Wetherington continues to remain employed after April 13, 2010. However,

  6
    Although AmeriPath filed its Motion initially in state court as one for a “Temporary
  Injunction,” it would appear that the Parties and the Court agree the pending requested
  relief be heard under the preliminary injunction standard of Fed. R. Civ. P. 65(a).




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  AmeriPath’s claim of “non-renewal” is a sham and its subsequent conduct is consistent

  only with a termination.

           1.     This is not a “Non-Renewal” under the Agreement.

           On April 13, 2010, AmeriPath informed Dr. Wetherington that, pursuant to

  Section 2 of the Agreement, AmeriPath would not be renewing the Agreement. Section

  2 of the Agreement states that if notice of non-renewal is given, “then the Employee’s

  employment will terminate on the Termination Date (or on such other date as the parties

  mutually agree).” However, despite the express terms of the Agreement, AmeriPath did

  not allow Dr. Wetherington to continue his employment8 until the Termination Date.

  Instead, and on the same day it provided notice, AmeriPath escorted Dr. Wetherington

  out of the Atlanta Practice office and told him not to return.

           AmeriPath’s actions demonstrate that Dr. Wetherington was, in fact, terminated

  on April 13, 2010. In Habif, Arogeti & Wynne, P.C. v. Baggett, 498 S.E. 2d 346 (Ga. Ct.

  App. 1998), the employer “HAW” sued Baggett for breach of contract after he left his

  employment with HAW and joined a competitor. HAW argued, in part, that Baggett

  remained an employee during the 60-day notice provision in an agreement and thus

  breached fiduciary duties owed to HAW. Id. at 356. Because there was evidence that

  HAW “immediately (i) asked [Baggett] not to return to the office, (ii) terminated his

  secretary, (iii) changed the office’s locks and access code, and (iv) informed the clients

  whom Baggett serviced that he has resigned,” there was a disputed fact as to whether

  Baggett was constructively discharged. Id. At a minimum, and as discussed in detail

  7
      A copy of GPS Industries, LLC v. Lewis (an unpublished opinion) is attached as Exh. I.




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  below, AmeriPath’s actions in this case create a question of fact about Dr.

  Wetherington’s employment status which precludes injunctive relief on AmeriPath’s tort-

  based claims.

         2.     AmeriPath Admits that Dr. Wetherington is a Former Employee.

         While AmeriPath repeats in its TI Motion that Dr. Wetherington is a “current

  employee,” it tells others just the opposite in an effort to gain a business advantage.

  On May 14, 2010, Karen Carpentier, AmeriPath’s Tradeshow Manager, in an effort to

  displace Dr. Wetherington as a speaker at the upcoming summer conference of the

  Georgia Association of Physicians, stated in no uncertain terms that “Dr. Wetherington

  is no longer employed by Dermpath Diagnostics.” (Dillehay Decl. ¶4). Similarly,

  AmeriPath stated in a letter to the physician clients of the Atlanta Practice dated the day

  after Dr. Wetherington’s termination that he was “no longer the Medical Director,” and

  that Dermpath “wish[ed] him well in his future endeavors.” (Pritzker Aff. at Exh. A).

  Moreover, AmeriPath has treated Dr. Wetherington as a terminated employee in other

  ways, such as escorting him off the premises, preventing him from completing his

  duties, and terminating his access to the company’s web portal. (Wetherington Aff.

  ¶¶12-13). Accordingly, to the extent Dr. Wetherington owed any fiduciary duties or

  duties of loyalty to AmeriPath, those duties were extinguished upon his termination.

  See L.A. Draper & Son, Inc. v. O’Callaghan, 813 F.2d 332, 337 (11th Cir. 1987) (if

  acting in good faith and without fraud a former employee can engage in competition or

  even injure a former employer); Draim v. Virtual Geosatellite Holdings, Inc., 631 F.



  8
    Under Section 1 of the Agreement, “employment” is defined as Dr. Wetherington
  “rendering professional services as a Doctor of Medicine, specializing in
  Dermatopathology.”

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  Supp. 2d 32, 40 (D.D.C. 2009) (former employee did not owe a fiduciary duty following

  his termination where there was no evidence he used trade secrets to his advantage);

  Instrument Repair Serv., Inc. v. Gunby, 518 S.E.2d 161, 163 (Ga. Ct. App. 1999) (an

  employee upon termination of employment is entitled to immediately compete).

  B.     AmeriPath’s Contract Claim is Precluded by its Prior Breach

         1.     AmeriPath Breached Section 2 of the Agreement.

         AmeriPath’s TI Motion seeks to enforce an Agreement that was breached first by

  AmeriPath. Such a selective view of the parties’ contractual obligations under the

  Agreement is not tolerated by Florida law. See Bradley v. Health Coalition, 687 So. 2d

  329, 333 (Fla. 3d DCA 1997) (employer who materially breached the employment

  agreement cannot enforce restrictive covenants contained in the agreement); see also

  (TI Motion at 23 (citing Bradley)). By terminating Dr. Wetherington under the false

  premise of a non-renewal, AmeriPath materially breached the Agreement. AmeriPath’s

  mischaracterization of Dr. Wetherington’s termination as a “non-renewal” is an effort to

  avoid the 150-day severance provisions of Section 14(c) of the Agreement, which

  applies to terminations with cause by AmeriPath.9 AmeriPath’s efforts to avoid the



  9
    The facts of this case are similar to those in Ruffing v. Masterbuilt Tool & Die, LLC, No.
  1:08-CV-01264, 2009 U.S. Dist. LEXIS 4754 (N.D. Ohio Jan 23. 2009), where an
  employer attempted to utilize a “non-renewal” clause to avoid the payment of severance
  benefits. In Ruffing, an employee was under a one year employment contract which
  included both a “non-renewal” and a “termination” clause. Id. at *7. Employees
  terminated without cause under the contract were entitled to severance benefits. Id. at
  *9. The employer, without cause, declined to renew the contract and refused to pay
  severance, arguing that "non-renewal" did not come within the termination provision of
  the contract. Id. The court rejected this interpretation finding that it would render
  portions of the termination clause, which specifically provided for the payment of
  severance benefits if the employee was terminated without cause, as wholly illusory. Id.
  at *28. Instead, the court followed an interpretation that allowed for effectuation of all of
  the contractual provisions, mandating the payment of severance benefits. Id. at *28-29.

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  severance required by Section 14(c) are a breach of the Agreement. If AmeriPath’s

  broad interpretation of its rights under the non-renewal provision of Section 2 is correct,

  there is no need for Section 14(c). This violates two fundamental principles of contract

  construction: (1) that a contract should be construed so as to give effect to all of its

  provisions, and (2) when a contract contains two provisions which could apply to a

  particular situation, the more specific of the two is the one that applies. See, e.g.,

  Ruffing, 2009 U.S. Dist. Lexis 4754, at *28-29. Consequently, AmeriPath’s attempt to

  enforce the restrictive covenants in the same Agreement that AmeriPath breached first

  should not be permitted. See Bradley, 687 So. 2d at 332 (“A party is not entitled to

  enjoin the breach of contract by another, unless he himself has performed what the

  contract requires of him so far as possible; if he himself is in default or has given cause

  for nonperformance by defendant, he has no standing in equity.”) (citations omitted).

         2.     AmeriPath Failed to Pay Dr. Wetherington his Entitled Bonus.

         AmeriPath’s failure to pay Dr. Wetherington his entitled bonus is another material

  breach which precludes injunctive relief under the contract. (See Wetherington Aff.

  ¶10). Applying the law to facts similar to the instant case, Florida’s Fourth DCA affirmed

  the denial of a temporary injunction in Benemerito & Flores, M.D.’s, P.A., v. Zeidy

  Roche, M.D., 751 So. 2d 91 (Fla. 4th DCA 1999). In Benemerito, the employer medical

  association sued a former employee physician to enforce a restrictive covenant. At the

  temporary injunction hearing, the physician argued that the employment contract was

  breached first by the medical association which failed to fully compensate the physician

  according to the bonus provisions of the contract. Id. at 92. The contract provided for

  the physician to receive a bonus equal to the percentage of net fees she generated. Id.




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  at 93. Because there was evidence to show the medical association breached the

  contract by failing to pay the physician the full amount of bonus owed, the physician was

  relieved of complying with the restrictive covenants. Id. (citing Bradley, 687 So. 2d at

  333). Thus, because AmeriPath breached the Agreement first, it cannot now seek

  injunctive relief under the same Agreement.

  C.     The Restrictive Covenants in the Agreement are Overbroad and
         Unenforceable

         In its TI Motion, AmeriPath states that Dr. Wetherington’s Agreement “precludes

  him from competing with AmeriPath or soliciting AmeriPath employees in the State of

  Georgia during the course of his ongoing employment with AmeriPath, and for two

  years thereafter.” In fact, the covenants are much broader than that and would prohibit

  Dr. Wetherington from having “any interest whatsoever,” in a competing business

  “which is located in, provides services in or does any business whatsoever in the State

  of Georgia.” (Agreement ¶19(c)(1)). Put another way, Dr. Wetherington cannot work

  anywhere for any employer that has even incidental contact with the State of Georgia.

         1.     Under Georgia Law.

         Because Dr. Wetherington resides in Georgia, worked for AmeriPath in Georgia,

  and the restrictive covenants relate to business activity being conducted overwhelmingly

  in Georgia, Georgia law should be applied in determining the validity of the restrictive

  covenants at issue. See Trumpet Vine Inv., N.V. v. Union Capital Partners I, Inc., 92

  F.3d 1110, 1119 (11th Cir. 1996) (Florida has traditionally applied the lex loci contractus

  rule for choice of law determinations regarding contract law); Motmanco, Inc., v.

  McDonald’s Corp., No. 3:04-cv-270-J-99HTS, 2005 U.S. Dist. Lexis 33965, at *13 (M.D.

  Fla. Mar. 28, 2005) (holding that Illinois law applied in a breach of contract claim



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  brought in Florida because the contractual relationship centered in Illinois, the

  defendant’s principal place of business was located in Illinois, and the agreement would

  have to be performed there).

         Under Georgia law, restrictive covenants are disfavored and courts will therefore

  strictly scrutinize such agreements. Keener v. Convergys Corp., 342 F.3d 1264, 1268

  (11th Cir. 2003). The restrictive covenants in the Agreement are unenforceable

  according to well-established Georgia law. Most obviously, the covenants prohibit Dr.

  Wetherington from engaging in covered activity “as a shareholder, principal, agent,

  consultant, manager, advisor, director, officer, control person, operator, or in any other

  capacity or manner whatsoever,” a prohibition that is clearly overbroad under Georgia

  law. McNeal Group, Inc. v. Restivo, 311 S.E.2d 831, 832 (Ga. 1984). This “in any

  capacity” provision “imposes a greater limitation upon the employee than is necessary

  for the protection of the employer and therefore is unenforceable.” Howard Schultz &

  Assoc. Se., Inc. v. Broniece, 236 S.E.2d 265, 268 (Ga. 1977). As Georgia courts refuse

  to blue pencil restrictive covenants like those found in the Agreement, the entire

  provision must fail. Advance Tech Consultants, Inc., v. Roadtrac, LLC, 551 S.E.2d 735,

  737 (Ga. Ct. App. 2001). Accordingly, AmeriPath’s TI Motion seeking to enforce

  restrictive covenants must fail where they are overbroad and unenforceable as a matter

  of Georgia law.10




  10
    Space considerations do not permit a full discussion of all the ways these covenants
  are unenforceable under Georgia law. Some of the other reasons are identified in Dr.
  Wetherington’s FAC in the Georgia Action at ¶¶27-33 [DE 4(7)].

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         2.     Under Florida Law.

         While Georgia law should be applied to the restrictive covenants at issue, even

  under Florida law the restrictive covenants are unenforceable as a matter of law. “A

  restrictive covenant not supported by any legitimate business interest [is] unlawful and

  is void and unenforceable.” See GPS Industries, 2010 U.S. Dist. LEXIS 17798, at *12.

  AmeriPath’s conclusory statements that client contact information, business information,

  financial agreements, and pricing models all constitute protectable interests are without

  merit. (TI Motion at 8); GPS Industries, 2010 U.S. Dist. LEXIS 17798, at *18-19

  (customer and pricing lists and business plans are not protectable interests). Because

  AmeriPath has failed to establish a valid protectable interest under Florida law, the

  covenants AmeriPath seeks to enforce are unenforceable.

         Even if AmeriPath has established a protectable interest, the restrictive

  covenants at issue fail because the geographic scope is impermissibly overbroad. If

  enforced, the covenants at issue would prohibit Dr. Wetherington working anywhere for

  any employer that has even incidental contact with the State of Georgia. (See

  Agreement ¶19(c)(1)). This is effectively a global geographic restriction which is

  not reasonably necessary to protect any legitimate business interest.11 See GPS

  Industries, 2010 U.S. Dist. LEXIS 17798, at *18-19 (unlimited geographic scope of

  restrictive covenant was overbroad and thus unenforceable).




  11
    Florida’s restrictive covenant statute also provides that in determining whether a
  restrictive covenant is enforceable, courts “[s]hall consider the effect of enforcement
  upon the public health, safety, and welfare.” Fla. Stat. § 542.335(g)(4). AmeriPath is
  required to establish that the covenant it seeks to enforce does not threaten public
  safety, health, or welfare, in light of the compelling need for Dr. Wetherington’s medical
  services in his community. Jewett Orthopaedic Clinic, P.A. v. White, 629 So. 2d 922,

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  D.     AmeriPath Fails to Satisfy the Necessary Burden for Injunctive Relief

         Even if Dr. Wetherington remained an employee, AmeriPath had not breached its

  own contract, and the covenants at issue were narrowly drawn, AmeriPath has failed to

  meet the essential elements required to justify extraordinary relief. See GPS Industries,

  2010 U.S. Dist. LEXIS 17798, at *9-30 (denying preliminary injunction where defendant

  employer failed to show substantial likelihood of success on the merits or irreparable

  harm, where the balance of harm favored the former employee, and where the public

  interest was served by disallowing unreasonable restrictive covenants to unfairly

  restrain trade).

         1.     AmeriPath Cannot Establish a Substantial Likelihood of Success on
                the Merits.

         As demonstrated above, there are substantial and hotly contested issues of fact

  regarding Dr. Wetherington’s employment status and AmeriPath’s breaches of the

  Agreement. Consequently, AmeriPath cannot establish a likelihood that it will succeed

  on these issues, warranting a denial of the instant motion. See Lotenfoe v. Pahk, 747

  So. 2d 422, 425 (Fla. 2d DCA 1999) (dissolving a temporary injunction and questioning

  whether an action to enforce restrictive covenants has a substantial likelihood of

  success where the employee presented evidence that the employer breached first);

  Davis v. United States, 422 F.2d 1139, 1142 (5th Cir. 1970) (reversing injunctive relief

  where it was impossible to determine disputed factual issues based on conflicting

  affidavits); see also Kuczynski v. Lyra Mgmt., No. 08-62067, 2010 U.S. Dist. LEXIS


  927 (Fla. 5th DCA 1993); Lloyd Damsey, M.D., P.A. v. Mankowitz, 339 So. 2d 282 (Fla.
  3d DCA 1976). AmeriPath fails to make such a showing.




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  4569, at *9 (S.D. Fla. Jan. 21, 2010) (Cohn, J.) (noting that a dispute over whether

  plaintiff was terminated created an issue of material fact precluding summary judgment).

  Further, because AmeriPath fails to show that the restrictive covenants at issue are

  enforceable and that, even if they are, Dr. Wetherington has breached them, injunctive

  relief should be denied. See GPS Industries, 2010 U.S. Dist. LEXIS 17798, at *9, 23-24

  (“In short, enough issues of fact remain to warrant against the use of injunctive relief.”).

         2.     AmeriPath Fails to Demonstrate that it Suffered Irreperable Harm and
                an Adequate Remedy at Law Exists.

                (a)    AmeriPath Fails to Show that Dr. Wetherington’s Actions Have Caused
                       Irreperable Harm.

         Even if AmeriPath could establish a substantial likelihood of success on the

  merits (which it cannot), the absence of a showing of irreparable harm to AmeriPath,

  standing alone, precludes entry of a preliminary injunction. See GPS Industries, 2010

  U.S. Dist. LEXIS 17798, at *25.

         AmeriPath relies on a theory of direct solicitation to prove irreparable injury. (TI

  Motion at 11-13, 15). Specifically, AmeriPath alleges that Dr. Wetherington’s solicitation

  of physician clients – if not enjoined – will undermine AmeriPath’s relationships with its

  customers and goodwill within the community. However, AmeriPath has provided no

  evidence that Dr. Wetherington solicited any active AmeriPath clients, and instead, the

  evidence in this case shows otherwise. See (Katz Aff. ¶4; Moody Aff. ¶4; Pereyo Aff.

  ¶4; Pritzker Aff. ¶5; Schoenfeld Aff. ¶4); see also Lotenfoe, 747 So. 2d at 425 (“The fact

  that a patient voluntarily seeks out a doctor at his new practice does not establish direct

  solicitation.”). AmeriPath’s conclusory and speculative affidavits fall far short of

  establishing direct solicitation. See Lotenfoe, 747 So. 2d at 424 (rejecting allegations of




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  direct solicitation provided in verified complaint as failing to put forth facts sufficient to

  establish irreparable injury).

         Additionally, AmeriPath fails to support its allegations of misappropriation of trade

  secrets and/or confidential information with any record evidence. First, AmeriPath does

  not even claim Dr. Wetherington removed confidential information from the Atlanta

  Practice. See Liberty Am. Ins. Group, Inc. v. Westpoint Underwriters, L.L.C., 199 F.

  Supp. 2d 1271, 1288 (M.D. Fla. 2002) (refusing to grant injunctive relief where plaintiffs

  had no evidence that defendant took trade secrets from the job site). And second, the

  type of client information AmeriPath seeks to protect – client identities and client

  information -- are not trade secrets. Morgan Stanley DW, Inc., v. Frisby, 163 F. Supp.

  2d 1371, 1379 (N.D. Ga. 2001) (clients and client information of a financial broker are

  not proprietary and thus not protected as trade secrets); GPS Industries, 2010 U.S. Dist.

  LEXIS 17798, at *18-19 (“customer and pricing lists and business plans . . . do not

  constitute trade secrets or legitimate business interests”). This is especially true here

  where AmeriPath took no reasonable steps to protect this information. (Wetherington

  Aff. ¶4).

                (b)     An Adequate Remedy at Law Exists.

         Even if AmeriPath could establish irreparable injury, AmeriPath fails to show that

  money damages would be an insufficient remedy in this action. Despite AmeriPath’s

  contention that it is “inherently difficult” to calculate damages for breach of restrictive

  covenants (see TI Motion at 14-15) the courts show no hesitation in denying injunctive

  relief in similar cases where the alleged damage can be measured in lost revenue. See

  GPS Industries, 2010 U.S. Dist. LEXIS 17798, at *26-27 (harm to the employer could be




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  measured in money damages); Morgan Stanley, 163 F. Supp. 2d at 1376 (damages

  associated with a departing broker could be measured by reference to commissions the

  new firm derived from customers who switched firms) (citing Sampson v. Murray, 415

  U.S. 61, 90 (1964)). Indeed, AmeriPath’s own witnesses seem to have no problem

  calculating its damages. See DE 1(3) (Wampole Aff. ¶13 (noting a large client

  “generating approximately $300,000 revenue per year” abruptly stopped doing business

  with AmeriPath and the Atlanta Practice lost 30% of its revenue base); Cooper Aff. ¶3

  (“AmeriPath’s gross revenues from [a large client] were approximately $300,000”)); DE

  8(2) (Hankins Second Supp. Aff. ¶2 (calculating a 50% decrease in biopsies since Dr.

  Wetherington left and forecasting damages for the rest of 2010)). As such, money

  damages can easily compensate AmeriPath for this type of loss, which can be

  measured in lost revenues. See Morgan Stanley, 163 F. Supp. 2d at 1376 (“the mere

  loss of income, no matter how great, does not constitute irreparable harm”).

         3.     Injunctive Relief Would Not Serve the Public Interest.

         This Court should deny AmeriPath’s TI Motion because enjoining Dr.

  Wetherington from practicing medicine would not serve the public interest. AmeriPath

  alleges that a temporary injunction in this case would protect contractual rights;

  however, this interest is outweighed by the public interest of preserving the trust and

  confidence between Dr. Wetherington and his physician clients. See Morgan Stanley,

  163 F. Supp. 2d at 1382 (describing the public interest in preserving relationships of

  personal trust and confidence). Dr. Wetherington’s physician clients choose Dr.

  Wetherington’s services because he is trusted for his professionalism and knowledge.

  (Moody Aff. ¶3; Pritzker Aff. ¶3; Schoenfeld Aff. ¶3). The public has an interest in

  preserving the physicians’ right to choose Dr. Wetherington as their dermatopathologist.


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  See Morgan Stanley, 163 F. Supp. 2d at 1382 (recognizing the “importance of the

  ‘public’s ability to choose the professional services it prefers’ ”) (citations omitted)).

  Accordingly, the public interest would not be served by enjoining Dr. Wetherington from

  providing dermatopathological services.

         4.     The Relative Hardships Weigh Against Injunctive Relief.

         AmeriPath has not shown that any threatened injury to AmeriPath outweighs the

  clear harm in enjoining Dr. Wetherington from practicing medicine and making a living.

  AmeriPath fails to explain how the threatened injury in this case outweighs the harm of

  a temporary injunction. (TI Motion at 3 n.3). Any injury to AmeriPath, a national

  provider of pathology services owned by a publicly traded Fortune 500 company, Quest,

  is minimal compared to the harm a preliminary injunction against Dr. Wetherington, an

  individual physician, would cause. See Morgan Stanley, 163 F. Supp. 2d at 1381-82

  (former employer failed to show the balance of the harm weighed in favor of preliminary

  injunction where the former employer, a large international financial company, sought

  an injunction to deprive former employees of access to their entire client base). As

  AmeriPath has failed to meet its burden to show the balance of the equities is in favor of

  granting injunctive relief, this Court should deny AmeriPath’s motion.

                                      IV.    CONCLUSION

         For the foregoing reasons, Dr. Wetherington respectfully requests that this Court

  deny AmeriPath’s Motion for Temporary Injunction in its entirety.




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        Respectfully submitted this 25th day of May, 2010.



                                         s/Charles A. Hawkins
                                         Charles A. Hawkins
                                         Fla. Bar No. 655260
                                         Troutman Sanders LLP
                                         5200 Bank of America Plaza
                                         600 Peachtree Street, N.E.
                                         Atlanta, Georgia 30308
                                         Telephone: 404-885-3000
                                         Facsimile: 404-885-3900
                                         E-Mail: charles.hawkins@troutmansanders.com

                                         and

                                         Bruce Johnson
                                         Fla. Bar No. 0262137
                                         Scott D. Alexander
                                         Fla. Bar No. 057207
                                         Johnson, Anselmo, Murdoch, Burke, Piper, &
                                         Hochman, P.A.
                                         2455 East Sunrise Boulevard
                                         Suite 1000
                                         Fort Lauderdale, FL 33304
                                         Telephone: 954-463-0100
                                         Facsimile: 954-463-2444
                                         E-Mail: Johnson@jambg.com
                                                 Alexander@jambg.com

                                         Counsel for Defendant
                                         Dr. Robert Wesley Wetherington




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                             Case No. 10-60766-CIV-COHN/SELTZER

  AMERIPATH, INC.,

                Plaintiff,

  vs.

  DR. ROBERT WESLEY WETHERINGTON, et al.,

                Defendants.

  ________________________________________/

                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing Defendant’s

  Opposition to Plaintiff’s Motion for Temporary Injunction has been electronically

  filed with the Clerk of Court using the CM/ECF system, which will automatically send

  email notification of such filing to counsel of record for Plaintiff.

                        Jonathan H. Rosenthal
                        Malman, Malman & Rosenthal
                        3107 Stirling Road
                        Suite 101
                        Fort Lauderdale, Florida 33312-8500
                        jrosenthal@bellsouth.net


         This 25th day of May, 2010.

                                              s/Charles A. Hawkins_________________
                                              Of Counsel




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